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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             x
NML CAPITAL, LTD.,
                                                                    08 Civ. 6978 (TPG)
                              Plaintiff,                            09 Civ. 1707 (TPG)
                                                                    09 Civ. 1708 (TPG)
                       -   against   -


THE REPUBLIC OF ARGENTINA,
                              Defendant.




    MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF'S MOTIONS TO
    AMEND COMPLAINTS AND FOR PARTIAL SUMMARY JUDGMENT FOR
                  PRINCIPAL AND INTEREST DUE




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        Defendant the Republic of Argentina (the "Republic") submits this memorandum of law

in opposition to plaintiff NML's motions for leave to amend three complaints and for partial

summary judgment on principal and interest due.'I

                                  PRELIMINARY STATEMENT

                NML moves to amend three of its complaints, filed in August 2008 and February
                            2
2009 (the "Complaints") , in order to assert an erroneous pani passu claim that it was well aware
of at the time the Complaints were filed, and yet decided as a tactical matter not to pursue. This

belated motion must fail for the same reasons as NML's accompanying motions for partial

summary judgment and injunctive relief pursuant to the pani passu clause (the "Pani Passu

Motions"). The futility of asserting such a claim when NML's pani passu interpretation is wrong

as a matter of law, NML's bad faith in admittedly delaying its assertion of a pani passu claim,

and the resulting prejudice to the Republic and third parties, require that NML' s leave to amend

the Complaints at this late hour be denied.

                NML is also not entitled to New York statutory interest on post-acceleration or

post-maturity interest at the contractual rate. While NML does not explicitly raise the question

of such "interest on interest" in its motions, its proposed amended complaint in NML IX


    Unless otherwise noted, exhibits are attached to the Declaration of Carmine D. Boccuzzi in support of
    the Republic's memorandum of law in opposition to plaintiff s motions to amend and for partial
    summary judgment on principal and interest due, dated December 10, 2010. The Republic's
    memorandum of law in opposition to plaintiff s motions for partial summary judgment and injunctive
    relief pursuant to the pani passu clause, dated December 10, 20 10, is cited as "Rep. Inj. Opp.";
    plaintiffs memorandum of law in support of its motion to amend, dated October 20, 2010, is cited as
    "Pl. Mot. to Amend"; the Declaration of Robert A. Cohen in support of the motion to amend, dated
    October 18, 2010, is cited as "Cohen Amend Decl."; the Declaration of Elliot Greenberg in support of
    the motion for partial summary judgment for principal and interest due, dated October 18, 20 10, is
    cited as "Greenberg SJ Decl."
2   NML CapitalLtd. v. Republic of Argentina, No. 08 Civ. 6978 (TPG) ("NMELY"); NML CapitalLtd v.
    Republic of Argentina, No. 09 Civ. 1707 (TPG) ("NML X'); NML Capital Ltd v. Republic of
    Argentina, No. 09 Civ. 1708 (TPG) ("NML XT").
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demonstrates its intent to demand both types of "interest on interest" in the future, in spite of the

Second Circuit's decision in Capital Ventures Int'l v. Republic of,4rgentina, 552 F.3d 289, 296-

97 (2d Cir. 2009) ("CVI"), rehearingdenied, 07-155 1-cv (2d Cir. Apr. 9, 2009), which denied

interest on interest in the context of accelerated principal.

                                             BACKGROUND

                 The current motions concern three Complaints filed by NML in August 2008 and

February 2009. The Complaints, like the eight previous complaints filed by NML since 2003,

were filed without including a pani passu clause claim. This failure to plead a pani passu clause

claim was undeniably intentional. As described in the Background to the Republic's opposition

to the Pani Passu Motions, NML had fully developed its approach to a pari passu clause claim

nearly seven years ago. See Letter from K. Reed to the Court, dated Jan. 14, 2004 (Ex. A); Rep.

Inj. Mot. at 6-12. Instead of asserting the claim, however, NML aggressively opposed every

effort by the Republic in 2004 and 2005 to protect its anticipated restructuring by having the

Court resolve the pani passu question prior to the closing of the 2005 Exchange Offer, and

emphatically disavowed any intent to pursue a pani passu. clause claim. Rep. Inj. Opp. at 8-10.

                 Now, more than five years after the first alleged violations of the pani passu

clause, nearly two years after filing the Complaints, and following the final closing of both of the

Republic's Exchange Offers, NML has abruptly reversed course and filed this belated motion for

leave to amend the Complaints to assert a pani passu clause claim.

                 In the declaration accompanying its summary judgment motion, NML reveals for

the first time that, more than a year ago, it sold $15,860,000 of the beneficial interests 3upon


3   Although the technical term for what NML and other creditors hold is a "security entitlement" with
    respect to the bonds issued by the Republic, terms such as "beneficial interests," "interests," "bonds,"
    or "bondholders" are also used for simplicity's sake. See N.Y. UCC § 8-102(a)(7).
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which it had sued in NML X. 4 Greenberg SJ Decl. TT 24, 27, 31, 37, 43. Nevertheless, NML

failed to timely inform either the Court or the Republic of this important fact, and has instead

continued to seek and obtain attachmentsJbr the full principalamount of beneficial interests

listed in the NML XI complaint, including those that it knew it no longer owned, plus interest.

See Attachment Order, dated Jan. 11, 2010, at 3 (Ex. E) (claiming it was "probable" that NML

would succeed on the merits for the inflated principal and interest, in attachment order

concerning Banco Central de la Repfiblica Argentina); Attachment Order, dated May 28, 2010, at

3 (Ex. G) (same, in attachment order concerning Banco de la Naci6n Argentina). NML

subsequently bought $179,000 in beneficial interests on July 2, 2010 - more than 16 months

after the complaint was filed in NML XI on February 24, 2009. See Greenberg SJ Decl. T 24.

NML' s current motion includes these July 2010 beneficial interests in its demand for summary

judgment. Id.

                Finally, NML also seeks to amend its complaint in NML LY, so as to potentially

assert a claim for New York statutory interest on both post-acceleration and post-maturity

interest at the contractual rate. In particular, NML appears to subscribe to the fiction that

contractual interest payments continue to be "scheduled" for semiannual payment even after

principal becomes fully due and owing, either through acceleration or maturity. See NML 1K

Proposed Amended Compi. TT 40-46 (Cohen Amend Decl. Ex. B) (listing continued alleged

unpaid interest payments after acceleration or maturity of the principal related to the beneficial

interests at issue).




 4NML     filed the NML X1 complaint in February 2009 alleging ownership of $156,570,549 in beneficial
   interests in Republic debt, but now alleges ownership only of $140,889,549 in beneficial interests.
   NML XI Compl. at 19-20; see NML XIProposed Amended Compl. at 23-24 (Cohen Amend Decl. Ex.
   C).
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                With regard to post-acceleration interest, in January 2009, the Second Circuit

decided CVI, 552 F.3d at 296-97, affirming this Court's decision that New York statutory

interest pursuant to C.P.L.R. Sections 5001 and 5004 did not continue to accrue on so-called

phantom contractual interest payments after acceleration, i.e., contractual interest payments that

would have come due had the principal itself not become due and owing through acceleration.

This Court, however, in a March 2009 decision in connection with the FRANs bond,

distinguished CVI and held that 9% statutory interest continued to accrue on accrued interest at

the contractual rate after maturity, i.e., statutory interest would be calculated as if interest at the

contractual rate continued to come due every six months despite the fact that the principal itself

had become due and owing at maturity. See Opinion, dated Mar. 18, 2009, at 14 (Ex. D). The

Republic appealed this decision, and the Second Circuit certified the questions of both post-

maturity and post-acceleration interest to the New York Court of Appeals, which accepted the

certification and established a briefing schedule. See NML Capitalv. Republic ofArgentina, 621

F.3d 230, 244 (2d Cir. 2010); Letter from the N.Y. Ct. of App., dated Oct. 19, 2010) ("N.Y. App.

Letter") (Ex. H).

                                               ARGUMENT

                                                  POINT I

            NML'S MOTION FOR LEAVE TO AMEND SHOULD BE DENIED

                A district court may not grant a plaintiff leave to amend a complaint unless justice

so requires. See Fed. R. Civ. P. 15(a). Accordingly, the Second Circuit has directed that "a

motion to amend should be denied if there is 'an apparent or declared reason such as undue

delay, bad faith.   ... [or]   futility of the amendment."' See County of Washington v. Counties of

Warren and Washington Indus. Dev. Agency, 2 F. App'x 71 (2d Cir. 2001) (citing Foman v.
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Davis, 371 U.S. 178, 182 (1962)). Because all three of these enumerated reasons are present

here, the Court should deny NML's motion.

               First, NML's motion should be denied for futility because its proposed claims

"would be subject to dismissal under Rule 12(b)(6) of the Federal Rules of Civil Procedure."

See Scala v. Sequor Grp., No. 94 Civ. 0449 (LAP), 1995 WL 225625, at *5 (S.D.N.Y. Apr. 14,

1995) (holding that futility is sufficient to deny leave to amend). As the Court is aware, Fed. R.

Civ. P. 12(b)(6) requires dismissal of a claim for which no relief can be granted under any set of

facts. Fed. R. Civ. P. 12(b)(6). As set forth in the Republic's Opposition to the Pari Passu

Motions, NML' s interpretation of the pani passu clause is wrong as a matter of law, and no facts

set forth by NML can establish a violation of the clause under its correct interpretation. See Rep.

Inj. Opp. Point 11. This alone requires the Court to deny this motion. However, even if the facts

in the record could support a claim for relief - which they do not - NML's motion for leave to

amend must also be denied because its pani passu claim is barred by laches. See Rep.Inj. Opp

Point I.; see also Simons v. United States, 452 F.2d 1110, 1116 (2d Cir. 197 1) (dismissal

pursuant to 12(b)(6) on the ground of laches is appropriate where the record reveals "no reason

for the [movant's] inordinate and prejudicial delay").

               Second, NML's motion should be denied for undue delay and bad faith because

NML purposefully waited to launch its pani passu claim until after the 2010 Exchange Offer had

closed, thereby increasing from 76% to 91 % the unsuspecting bondholders whose payments

would be disrupted, and who would become hostages to NML's demand to be paid several times

more on the same debt than any other bondholder. See State Teachers Ret. Bd V Fluor Corp.,

654 F.2d 843, 856 (2d Cmr. 198 1) (undue delay and bad faith together provide a basis for denying

a motion to amend); Pl. Mot. to Amend at 5 n. 8. In NML's view in its proposed amended
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complaints, bondholders tendering into the Republic's Exchange Offers did so in reliance on the

assurance provided by the Lock Law that holdout creditors would not be offered better terms

than they themselves had accepted. See, e.g., NML JXProposed Amended Compl. T 58 (Cohen

Amend Decl. Ex. B). Given that reliance, NML's knowing refusal to challenge the Lock Law at

a time that would have given bondholders the opportunity to fully evaluate the risks before

tendering, is a clear sign of bad faith delay. Despite NML's protest that "there has been no

delay," Pl. Mot. to Amend at 5, it is undisputed that over two years have passed since NML filed

the first of the Complaints that it now seeks to amend and that it alleges no new facts that have

occurred in the interim that would have been necessary       -   under plaintiff s erroneous

interpretation   -    for NML to plead its pani passu claim. See NML IX Proposed Amended Compl.

TT 47-66 (Cohen Amend Decl. Ex. B).

                     NML also claims that there has been no "unfair surprise" because their erroneous

pani passu clause interpretation "was first raised in this litigation" in late 2003. Pl. Mot. to

Amend at 5. However, as described in the Republic's opposition to the Pari Passu Motions,

NML in 2004 and 2005 repeatedly disavowed pursuit of a pari passu clause claim, leading the

Court to decide it was unnecessary to resolve the issue. Rep. Inj. Opp. Part I.B, C. These

disavowals and NML' s utter silence on the subject during the events of the next six years

reasonably led the Republic and its other bondholders and creditors to believe NML had truly

renounced its "very odd" interpretation of the clause. Jan. 15, 2004 H-r'g Tr. at 14: 10 (Ex. B);

Rep. Inj. Opp. Part J.B, C; see also Tal v. Superior Vending, LLC, No. 11709/07, 2008 WL

24473 65, at *15 (N.Y. Sup. Ct. Westchester Cnty. June 6, 2008) (noting that defendant could not

have anticipated a second lawsuit when four years had passed since plaintiff first filed claims

against him), aff'd sub nom., 71 A.D.3d 1153 (2d Dep't 2010).
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                  NML's motion should also be denied because it fails o meet its burden of

providing any satisfactory explanation for the delay. See Cresswell v. Sullivan & Cromwell, 922

F.2d 60, 72 (2d Cir. 1990), aff'd, 962 F.2d 2 (2d Cir 1992). The one excuse NML purports to

provide is that it waited until the completion of the 2010 Exchange Offer to bring this motion "in

deference to" the Court's expressed reluctance to interfere with the Republic's Exchange Offers.

P1. Mot. to Amend at 5, n.8. However, the Court's stated reasoning for not enjoining the

Exchange Offers was to protect the rights of holders of defaulted debt to evaluate for themselves

the benefits of the Exchange Offer, and to be able to receive payments on new performing debt.

See, e.g., Apr. 15, 2010 Hr'g Tr. at 6:16-19, 6:25-7:12 (Ex. F). The injury to other bondholders

from NML's current efforts to disrupt payments is certainly no less, now that those bondholders

have irrevocably exchanged their previous bond interests for performing debt, upon the

expectation that payments would continue.

                  NML's unreasonable delay based on purely tactical grounds warrants the denial

of its motion. 5 See State Trading Corp. of India v. Assuranceforeningen Skuld, 921 F.2d 409,

417-18 (2d Cir. 1990) (denying leave to amend where the movant "deliberately chose" to wait an

"unreasonably long" time to seek leave to amend for tactical reasons); see also C. Wright & A.

Miller, Federal Practice and Procedure, §1487 n.63 (1971 and 1987 Supp.) ("Generally, when a

plaintiff withholds his true position from his opponent, especially when done with an ulterior

purpose, the Court may view the action as having a bad faith motive"). As described in the

Republic's opposition to the Pani Passu Motions, NML had developed its pani passu theory by

January 2004, and alleges that violations began and have been continuing since 2005. Rep. Inj.


5   NMIL's pattern of bad faith and delay is also illustrated by the fact that it did not disclose to the Court
    or the Republicfor more than a year that it had sold millions of dollars in beneficial interests upon
    which it had sued in NML X; instead, NML continued to seek and obtain pre-judgment attachments
    for the amount of its prior holdings. See supra at 2-3.
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Mem. at 6-12. Thus, when NML filed these Complaints in 2008 and early 2009, it is clear that it

could have, but made the tactical choice not to, include a pari passu claim. It should not now be

permitted to avoid the consequences for this undue delay. See Rep. Inj. Mem. Point 1.

                                            POINT 11

   NML IS NOT ENTITLED TO 9% STATUTORY INTEREST ON TOP OF POST-
  ACCELERATION OR POST-MATURITY INTEREST AT THE CONTRACT RATE

               NML states that it seeks partial summary judgment as to "principal and interest"

due. While NML does not explain exactly what type of interest it seeks here, its proposed

amendment of the NML IX complaint and past litigation in the context of the FRANs bond raise

the probability that NML will seek statutory interest on top of both post-acceleration and post-

maturity interest at the contract rate. See NML IX Proposed Amended Compl.          40-46 (Cohen

Amend Decl. Ex. B).

               The Republic recognizes that questions bearing on NML's entitlement to statutory

interest both post-acceleration and post-maturity were certified by the Second Circuit to the New

York Court of Appeals on September 23, 2010, following the Republic's appeal of this Court's

March 2009 opinion in NML II and related FRANs actions. NML Capital, Ltd, 621 F.3d at 244.

The Court of Appeals accepted such certification on October 13, 2010, and briefing is currently

pending in the Court of Appeals on the certified questions. See N.Y. App. Letter, dated Oct. 19,

2010 (Ex. H). Accordingly, the Republic would ask the Court to defer decision on the topic of

post-maturity or post-acceleration statutory interest until after the conclusion of the New York

Court of Appeals certification proceedings and the related Second Circuit appeal.

               The Republic raises this issue here simply to eliminate any possibility that NML

can later argue that it is entitled to such improper interest based on purported waiver. Should the

Court decide to consider the issue, it should rule that NML is not entitled under New York
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C.P.L.R. Sections 50011(a) and 5004 to post-maturity and post-acceleration -9% statutory interest

on top of interest at the contract rate, consistent with the Second Circuit's decision in MVL In

 MV, the Second Circuit affirmed this Court's denial of 9% statutory interest on accrued contract

interest for the period after plaintiff accelerated maturity, holding that such an unusual result

should not be inferred in the absence of clear intent in the bond contract, and that no such intent

had been shown. 552 F.3d at 297. Likewise, here, as in MV, plaintiffs are entitled only to

interest on principal at the contract rate, and not further interest on that interest, for the period

after the bonds reached maturity   -   whether by acceleration or otherwise.

               New York courts have long held that language stating that the debtor agrees to

pay interest "until the principal hereof is paid"   -   which was at issue in MV, and also appears in

the global notes here - entitles the creditor to receive interest on unpaid principal at the contract

rate in lieu of the statutory rate for the period after maturity or acceleration until the unpaid

principal is merged into a judgment. The phrase does not, and has never been held to, mean that

scheduled periodic interest payments are required to continue after maturity or acceleration, or

that creditors are entitled to interest at both the contractual and statutory rates for this period. See

O'Brien v. Young, 95 N.Y. 428, 430 (1884) ("[W]hen the contract provides that the interest shall

be at a specified rate until the principalshall be paid, then the contract rate governs until

payment of the principal, or until the contract is merged in a judgment.") (emphasis added);

Astoria Fed Say. & LoanAss'n v. Ram balakos, 49 A.D.2d 715, 716 (2d Dep't 1975) (where

mortgage stated that "interest shall be paid at the rate specified in the bond, which required

interest at 8.5% Per annum. until the principal is [fully] paid," the "contract rate, rather than the

statutory rate, governs the rate of interest after maturity and before judgment.").
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                Moreover, as NML recognized in an amicus brief filed in support of CVI's

petition in the Second Circuit for panel rehearing or rehearing en banc, the phrase "until the

principal hereof is paid" has the same meaning in the context of accelerated maturity or original

maturity. NML Amicus Br. in CVI, 07-155 1-cv (2d Cir. Feb. 24, 2009), at 13 (Ex. C) ("There is

no reasonable basis for this distinction [between accelerated and original maturity]. Acceleration

of maturity, like original maturity, simply causes the principal amount of the debt to become due

and payable immediately."); see also Stull v. Joseph Feld, Inc., 34 A.D.2d 655, 656 (2d Dep't

1970) ("[A]fter maturity (or defaiult that accelerates maturity) the rate of interest is to be

computed at the rate then prescribed by statute. But when the contract provides that interest shall

be paid at a specified rate until the principal shall be paid, the contract rate governs until payment

of the principal, or until the contract is merged in a judgment.") (emphasis added); Fed Nat 'l

Mortg. Ass 'n v. Miller, 123 Misc.2d 431, 432 (Sup. Ct. Nassau Cnty. 1984) ("In New York the

rule is that an affirmative exercise by a mortgagee of an option to accelerate upon defendant's

default has the effect of maturing the mortgage since the debt has been changed from one

payable in the future and in installments to one payable immediately.") (emphasis added); In re

Solutia Inc., 379 B.R. 473, 484 (Bankr. S.D.N.Y. 2007) ("Acceleration moves the maturity date

from the original maturity date to the acceleration date and that date becomes the new maturity

date.").

                Accordingly, NML is not entitled to receive 9% statutory interest on top of pre-

judgment interest on principal at the contract rate for the period post-acceleration or post-

maturity.
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                                           POINT III

                                 RESERVATION OF RIGHTS

               On February 22, 2007 the Court signed a memorandum (the "Memorandum")

setting a streamlined summary judgment procedure for the bondholder actions filed against the

Republic. Pursuant to paragraph 5 of the Memorandum, "the Republic need not object to proof

the Republic considers insufficient, but which the Court has previously accepted as adequate. In

such a situation, the Republic's non-objection does not act as a waiver of the issue and the

Republic preserves such issue for all purposes, including appeal."

               NML has a total of eleven actions pending against the Republic. The Court has

granted NML's motions for summary judgment in NML I through NML VIII, on the basis of

evidence the sufficiency of which was objected to by the Republic. See, e.g., Reservation of

Rights Concerning Insufficient Documentary Evidence, in NML Capital, Ltd v. Republic of

Argentina, No. 08 Civ. 3302 (TPG), dated Aug. 28, 2008. The evidence on the present motion

is similar in kind to the previously submitted evidence. See Global Settled Holdings COB

Report, dated Oct. 14, 2010; Consolidated Settlement ITD Reports (Greenberg SJ Decl. Exs. 1,

2). NML has improperly redacted purchase price information from most of the proof offered in

support of the motion, and has not provided the Republic with any other type of discovery. In

addition, given the evidence of NML' s previous sales of beneficial interests that were subject to

these suits, without notification of either the Court or the Republic, see supra 2-3, NML should

be required to confirm their continued ownership by providing updated proof at the time of entry

of any judgment.

               Accordingly, the Republic reserves its rights and preserves for appeal all

objections to the deficiencies in NML's proof, including that NML seeks a multi-million dollar
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judgment based on improperly authenticated hearsay that does not properly establish current

ownership of the bonds in the principal amount alleged by NML.

                                       CONCLUSION

              For the foregoing reasons, NML's motions for leave to amend the three

Complaints and for partial summary judgment on principal and interest due should be denied.

Dated: New York, New York
       December 10, 2010
                                     Respectfully submitted,

                                     CLEARY GOTTLIEB STEEN & HAMILTON LLP


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